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                 EXHIBIT A
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                       Terms of Service



WaIkMeTM Terms of Service

Last Revised: October 24, 2022


WalkMe Ltd. and its affiliates (collectively, "WalkMe", "Company", "we" or "us")
welcome you (the "User" or "you") to WalkMe.com! Please read these Terms of
Service (the "Terms") and our Privacy Policy https://www.walkme.com/privacy-
policyj (as may be updated from time-to-time, the "Privacy Policy") carefully
because they govern your use of the our website at nttps://www.walkme.com/,
any additional website and/or webs pages owned and/or operated by WalkMe
(such as landing pages of ads) (collectively, the "Site"), as well as the services
listed in Section 1, including our Community Portal. To make these Terms easier
to read, the Site and the services listed in Section 1 are collectively referred to
as the "Services."


You may have been invited to use and access the Services (including the
Community Portal) by an organization or other third party, such as your
employer, with a subscription to these Services or to other WalkMe products
(the "Customer"). If you are using any portion of the Services pursuant to a
subscription between WalkMe and a Customer, then the Customer has
separately entered into another written agreement ("Customer Agreement")
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with us for a subscription to these Services or to other WalkMe products, and
you acknowledge that your rights to use the Services are also subject to the
Customer's rights and obligations under the Customer Agreement. You further
acknowledge that the Customer may have the right to control and manage
certain aspects of your use the Services. For example, the Customer may
suspend or terminate your Community Portal Account (defined below) and/or
access to the applicable services, or grant, restrict or modify your ability to
access certain data or content within the Services (including data or content
that you upload to or post on the Services (including the Community Portal).
You further acknowledge that such access and use of the Services will
automatically terminate upon the expiration or termination of the Customer
Agreement.


If you visit, or have registered to use and access, the Services not pursuant to
an invitation or authorization pursuant to a separate Customer Agreement,
then only these Terms govern your use of and access to the Services, and no
other terms and conditions shall apply.


Unless otherwise agreed by WalkMe in writing, by entering, connecting to,
accessing or using the Services you acknowledge that you have read and
understood these Terms and our Privacy Policy and by using the Services you
agree to be bound by these Terms and to comply with all applicable laws and
regulations regarding your use of the Services. Furthermore, you acknowledge
and agree that these Terms constitute a binding and enforceable legal
contract between you and WalkMe.


IF YOU ARE ENTERING INTO THIS AGREEMENT ON BEHALF OF A COMPANY
OR OTHER LEGAL ENTITY, YOU REPRESENT THAT YOU HAVE THE AUTHORITY
TO BIND SUCH ENTITY AND ITS AFFILIATES TO THESE TERMS AND
CONDITIONS, IN WHICH CASE THE TERMS "CUSTOMER" "YOU" OR "YOUR"
SHALL REFER TO SUCH ENTITY AND ITS AFFILIATES. IF YOU DO NOT HAVE
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SUCH AUTHORITY, OR IF YOU DO NOT AGREE WITH THESE TERMS AND
CONDITIONS, YOU MUST NOT ACCEPT THIS AGREEMENT AND MAY NOT USE
THE SITE AND/OR SERVICES.


IF YOU DO NOT AGREE TO THESE TERMS, PLEASE DO NOT CONNECT,
ACCESS OR USE THE SERVICES IN ANY MANNER. ANY SOFTWARE PROVIDED
IN CONNECTION WITH THE SERVICES, IS BEING LICENSED AND NOT SOLD TO
YOU.


By accepting these Terms you represent and warrant that any and all
information you provide us through the Services is true, accurate and complete.
The provision of false or fraudulent information is strictly prohibited.


1. APPLICABILITY OF THESE TERMS; SERVICES


In addition to governing your access and use of the Site, these Terms also
govern your access and use of the following WalkMe services:


WalkMe Free Edition. The WalkMe Free Edition offers Users a free, limited
version of WalkMe's web-based digital adoption platform (also known as the
WalkMe SystemTM) for web. The WalkMe Free Edition enables Users to guide and
engage prospects, customers, employees and partners through any online task
or experience. The WalkMe Free Edition may offer limited features and
functionality, including a limited version of the following: the WalkMe Editor,
WalkMe Player, and WalkMe Analytics.


The WalkMe Editor is used for building, managing, and publishing engagement
and guidance content including WalkThrusTM("WalkThrus"). The WalkMe Editor
tool may be used on Internet Explorer, Edge Chromium and Chrome, it is the
User's sole responsibility to download and install any of those browsers in order
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to utilize this tool. WalkMe does not take responsibility and shall not be liable for
the performance of any browser.


The WalkMe Player is the component that delivers content created in the
WalkMe Editor to prospects, customers, employees, and/or partners. It is made
available either through a snippet of code or a browser extension.


WalkMe Analytics is an analytics dashboard that provides information about
how individuals interact with published engagement and guidance content.


WalkMe VisionsTM is a tool for measuring and visually investigating end user
engagement using next-generation digital analytics which allows User to
record, analyze and playback entire end user sessions.


WalkMe University. WalkMe University offers Users online, instructor-led and
blended courses designed to teach Users how to use the WalkMe products and
services in order to meet the User's business needs. WalkMe University offers
several courses to improve Users skills in using WalkMe products, as well as a
certification process to allow a User to become a certified WalkMe builder (the
certification program is subject to a separate agreement with WalkMe).


WalkMe World Community Portal. The WalkMe World Community Portal
("Community Portal") is the central destination for WalkMe customers, partners,
their employees, and the digital adoption-curious to explore, learn, share, and
connect.


QA Recorder. The QA Recorder is a downloadable Chrome extension that offers
Users a free, limited version of WalkMe VisionsTM to streamline bug reporting for
QA and R&D purposes and to share all such recordings.
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2. ACCOUNT AND PASSWORDS


In order to use certain features of the Services the creation of a User account is
required (collectively, an "Account"). In order to access and use the WalkMe
Free Edition you must sign-up by providing the following information: name,
company email, phone number, and name of company ("Free Edition Account").
Your Free Edition Account will allow you to access the WalkMe Editor, which you
may uninstall at any time, in your sole discretion. In order to access and use
WalkMe University, prior to being a WalkMe customer, you may request access
to WalkMe University at https://universityLtypeform.com/to/e9rhjB and must
provide certain information, including, without limitation, company name,
relationship with WalkMe, name of your WalkMe contact (if applicable) and a list
of the platforms on which you intend to use with the WalkMe services
("University Account"). You acknowledge and agree that by creating an Account
via third party social networks such as Google, you grant WalkMe access to your
public profile on such services.


You must also create a password to access your Account. You are responsible
for maintaining the confidentiality of your Account and password and you must
not disclose this information to anyone. You also acknowledge that your
Account and password is personal to you and agree not to provide any other
person with access to the Services using your Account or password. You agree
to notify us immediately of any unauthorized access to or use of your Account
or password or any other breach of security at legal@walkme.com. You also
agree to ensure that you exit from your Account at the end of each session. You
should use particular caution when accessing your account from a public or
shared computer so that others are not able to view or record your password or
other personal information. You are responsible for all activities that occur
under your Account, whether or not you know about them.
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All information you provide for registration will be stored and used in
accordance with our Privacy Policy available
at: https://www.walkme.com/privacy-policyj


3. ELIGIBILITY


You may use the Services only if you are (i) 18 years or older and capable of
forming a binding contract with WalkMe; (ii) not barred from using the Services
under applicable law; and (iii) if applicable, authorized to do so by a Customer.


4. USER REPRESENTATIONS AND UNDERTAKINGS


You represent and warrant at all times throughout your use of the Services that:
(i) you have full authority to agree to these Terms, and there is no restriction,
limitation, contractual obligation or statutory obligation which prevents you
from fulfilling your obligations under these Terms; (ii) you are and will continue
to be in compliance with all applicable laws, rules, and governmental (state,
local, and community) and regulatory levies and requirements relating to your
use of the Services; (iii) your use of the Services has not been previously
blocked, suspended or terminated; (iv) you do not authorize a third party to do
any of the foregoing; and (v) you will not infringe or violate any of these Terms.


5. RIGHTS TO ACCESS AND USE; LICENSE


Except as otherwise specified herein, WalkMe is granting you with a limited
personal, non-exclusive, non-assignable, non-transferrable, non-sublicensable,
revocable (at WalkMe's discretion) right to access and use the Services subject
to these Terms and in connection with websites, applications, or other web-
based services that you own, license, or have a right to use.
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For use of the WalkMe Free Edition, WalkMe is granting you a limited personal,
non-exclusive, non-assignable, non-transferrable, non-sublicensable, revocable
(at WalkMe's discretion) license to access and use any applicable software
components included with the WalkMe Free Edition.


These Terms do not entitle you to any right or title in the Services (or any part
thereof), other than the rights explicitly granted herein.


6. USE RESTRICTIONS


Certain conduct is strictly prohibited on and/or with respect to the Services.
Your failure to comply with the provisions set forth below may result, in the
termination or suspension of your access to the Services, which is in WalkMe's
sole and absolute discretion, and may also expose you to civil and/or criminal
liability.


You agree not to, whether by yourself or anyone on your behalf,: (i) copy, modify,
adapt, translate, reverse engineer, decompile, or disassemble the Services (or
any part thereof); (ii) use the Services and/or in connection with any spam,
unsolicited mail, harassment, wire fraud or similar conduct; (iii) interfere with or
violate any other User or other third party's right to privacy or other rights
including intellectual property rights, or harvest or collect personally identifiable
information about any Users of the Services without their express consent,
including using any robot, spider, site search or retrieval application, or other
manual or automatic device or process to retrieve, index, or data-mine; (iv)
defame, abuse, harass, stalk, threaten, or otherwise violate the legal rights of
others; (v) transmit or otherwise make available in connection with Services any
virus, worm, Trojan Horse, time bomb, web bug, spyware, or any other computer
code, file, or program that may or is intended to damage or hijack the operation
of any hardware, software, or telecommunications equipment, or any other
actually or potentially harmful, disruptive, or invasive code or component; (vi)
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interfere with or disrupt the operation of the Services, or the servers or networks
that host the Services, or disobey any requirements, procedures, policies, or
regulations of such servers or networks; (vii) sell, license, or exploit for any
commercial purposes any use of or access to the Services; (viii) frame or mirror
any parts of the Services without WalkMe's prior express written authorization;
(viv) create a database by systematically downloading and storing all or any of
the content from the Services; (x) impersonate any person or entity or provide
false or misleading personal information; (xi) use the Services for any illegal,
immoral or unauthorized purpose; and (xii) use the Services in any way that
violates any applicable federal, state, local, or international law or regulation
(including, without limitation, any laws regarding the export of data or software
to and from the United States or other countries).


7. USER GENERATED CONTENT


Posting Content. Our Services may allow you to store or share content such as
text (in posts or communications with others), files, documents, graphics,
images, music, software, audio and video. Anything (other than "Feedback" as
defined below) that you post or otherwise make available through the Services
is referred to as "User Content". Please ensure that when you use the Services,
you respect the rights of others including any intellectual property, other
proprietary rights and privacy rights of third parties who may have an interest or
right in connection with your User Content. WalkMe will not bear any liability for
any loss, damage, cost, or expense that you may suffer or incur as a result of or
in connection with uploading any User Content and WalkMe is not responsible
or liable to any third party for the content or accuracy of any User Content
posted by you or any other User of the Services.


Permission to use User Content. Any User Content you post to the Services will
be considered non-confidential and non-proprietary. By uploading, posting,
publishing or making available any User Content on the Services, you hereby
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grant WalkMe a non-exclusive, royalty-free, transferable, worldwide license, with
the right to sublicense, to use, reproduce, modify, perform, display, distribute,
and otherwise disclose your User Content for the purposes of providing the
Services and to enforce any agreement you may have with WalkMe.


Responsibility for User Content. You acknowledge that as between us and the
Customer, it is the Customer's sole responsibility to (i) inform you of any
Customer policies or actions that may affect your ability to access or contribute
User Content or any other aspects or areas of the Services; and (ii) respond to
and resolve your questions and problems, and handle any disputes, in
connection with User Content or your use of the Services.          As between you and
WalkMe, you understand and agree that you are solely responsible for your User
Content and the consequences of posting or publishing such User Content, on
the Services, in any way. You hereby warrant that your User Content is true,
current, accurate and complete. You represent and warrant that neither your
User Content, nor your use and provision of your User Content to be made
available through the Services, nor any use of your User Content by WalkMe on
or through the Services will infringe, misappropriate or violate a third party's
intellectual property rights (including and especially those of your employer), or
rights of publicity or privacy, or result in the violation of any applicable law or
regulation. It is User's sole responsibility to obtain any and all consents
required under any applicable laws, regarding the posting of any personal
information of others which is part of the User Content and to adhere to any
applicable state and federal laws regarding such information.


Content Prohibitions. Without derogating from the above, you expressly agree
that the User Content that you post or upload will not include (i) any spam,
unsolicited promotions, advertising, contests or raffles; (ii) content which is
unlawful, defamatory, libelous, harassing, offensive, indecent, pornographic,
abusive, fraudulent, threatening or vulgar; (iii) content that unlawfully
discriminates on the basis of race, origin, ethnicity, nationality, religion, gender,
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occupation, sexual orientation, illness, physical or mental disability, faith, political
view or socio-economical class; (iv) content that encourages criminal behavior
or conduct that would constitute a criminal offense under any law, or could give
rise to civil liability or other lawsuit; or (v) content that might reasonably pose a
risk to a person's safety, security or health. The above examples of unlawful and
prohibited User Content do not constitute an exhaustive list.


Although we are not obligated to monitor access to or use of the Services or
content or to review or edit any content, we have the right to do so for the
purpose of operating the Services, to ensure compliance with these Terms, the
terms of any Customer Agreement and/or to comply with applicable law or
other legal requirements. We reserve the right, but are not obligated, to remove
or disable access to any content, at any time and without notice, including, but
not limited to, if we, at our sole discretion, consider any content to be
objectionable or in violation of these Terms. We have the right to investigate
violations of these Terms or conduct that affects the Services. We may also
consult and cooperate with law enforcement authorities to prosecute users who
violate the law.


8. FEEDBACK


When you use the Community Portal or any of the Services, in the event that
you provide suggestions, comments, ideas, proposals, feature requests, or other
suggestions for improvements to or regarding our Services or any other WalkMe
product offerings (collectively, "Feedback"), you agree that we are free to use it
without restriction and by submitting any Feedback you grant WalkMe a non-
exclusive, transferable, worldwide, perpetual, irrevocable, fully-paid, royalty-free
license, with the right to sublicense, under any and all intellectual property rights
that you own or control to use, copy, modify, create derivative works based
upon, make, have made, sell, offer for sale, import and otherwise exploit the
Feedback for any purpose, without compensation to you. You represent and
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warrant that you have and will have all requisite rights and authorizations to
grant to WalkMe all rights in the Feedback granted by you under these Terms
and such grant of rights will not violate any third-party rights, interest or policies,
including those of your employer. To the extent necessary, you agree that you
undertake to execute and deliver any and all documents and perform any and
all actions necessary or desirable to ensure that the rights in the Feedback
granted by you to WalkMe under these Terms are valid, effective, and
enforceable and you waive and agree never to assert those rights to the
maximum extent permitted by the laws of your jurisdiction.


In addition, by making submissions of Feedback on the Community Portal or
otherwise in connection with your use of the Services you agree that (i) such
Feedback is not confidential and WalkMe is under no obligation to treat it as
such; (ii) WalkMe may currently be developing, or in the future will develop,
information internally, or receive information from other parties, that is similar to
Feedback; and (iii) nothing in these Terms will be construed as a representation
or agreement that WalkMe will not develop or have developed concepts,
projects, plans or programs that are similar to or compete with the concepts
contemplated by or embodied in your Feedback. Nothing in these Terms will be
construed to create a partnership, joint venture or agency relationship between
you and WalkMe.


9. PRIVACY POLICY


WalkMe respects your privacy and is committed to protecting the information
you share with us. Our policy, practices and information about what we collect
are described in our Privacy Policy available
at nrcps://www.walknne.com/privacy-policy.
If you intend to connect to, access or use our Site and/or Services you must first
read and agree to the Privacy Policy.
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10. INTELLECTUAL PROPERTY RIGHTS


The Services, the design, logos, graphics, icons, images, as well as the selection,
assembly and arrangement thereof, WalkMe's proprietary software, algorithms
and any and all intellectual property rights pertaining thereto, including,
 without limitation, inventions, patents and patent applications, trademarks,
trade names, logos, copyrightable materials, graphics, text, images, designs
(including the "look and feel" of the Service and any part thereof), specifications,
methods, procedures, information, know-how, data, technical data, interactive
features, source and object code, files, interface, GUI and trade secrets, whether
or not registered and/or capable of being registered (collectively, "Intellectual
Property"), are owned and/or licensed to WalkMe, and are subject to copyright
and other applicable intellectual property rights under U.S. and Israeli laws,
foreign laws and international conventions.


All logos and other proprietary identifiers used by WalkMe in connection with
the Services, and other WalkMe products and services, ("WalkMe Trademarks")
are all trademarks and/or trade names of WalkMe, whether or not registered. All
other trademarks, service marks, trade names and logos, which may appear on
or with respect to the Services belong to their respective owners ("Third-Party
Marks"). No right, license, or interest to WalkMe Trademarks and/or to the Third-
Party Marks is granted hereunder, and you agree that no such right, license, or
interest shall be asserted by you with respect to WalkMe Trademarks or the
Third-Party Marks and you will not use any of these marks, unless expressly
permitted to do so.


You are hereby prohibited from removing or deleting any and all copyright
notices, restrictions and signs indicating proprietary rights of WalkMe and/or its
                                                               TM
licensors, including any copyright mark © or trademark ® or contained in or
accompanying the Services, and you represent and warrant that you will abide
by all applicable laws in this respect. You are further prohibited from using,
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diluting or staining any name, mark or logo that is identical, or confusingly
similar to any of WalkMe marks and logos, whether registered or not.


For the avoidance of any doubt, as between you and WalkMe, you are and you
shall remain the sole exclusive owner of all right, title, and interest in and to all
User Content, including all Intellectual Property rights relating thereto, subject to
the rights and permissions granted in Section 7 above and any rights and
restrictions afforded to the Customer under the Customer Agreement.


11. THIRD PARTY SERVICES


The Services may be linked to and/or through certain third-party websites and
other third-party services (collectively, "Third-Party Services"). Such Third-Party
Services are independent from the Services. You hereby acknowledge that
WalkMe has no control over such Third-Party Services, and further
acknowledge and agree that WalkMe is not responsible for the availability of
Third-Party Services, and does not endorse nor is it responsible or liable for any
goods, services, content, advertisements, products, or any materials available
on and/or through such Third Party Services.


You further acknowledge and agree that WalkMe shall not be responsible or
liable, directly or indirectly, for any damage or loss whatsoever caused, or
alleged to be caused, by or in connection with use of or reliance on any goods,
services, content, products or other materials available on or through any Third-
Party Services. Most Third-Party Services provide legal documents, including
terms of use and privacy policy, governing the use of each such Third-Party
Services, their contents and services. We encourage you to read these legal
documents carefully before using any such Third-Party Services.


No reference made in this Site to any specific commercial product, process, or
service (or provider of such product, process or service) other than such
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products, processes, or services of WalkMe, constitute or imply an endorsement,
recommendation or favoring by WalkMe.


12. THIRD PARTY COMPONENTS


The Services may use or include third-party software, files and components that
are subject to open source and third -party license terms ("Third Party
Components"). Your right to use such Third -Party Components as part of, or in
connection with, the Services is subject to any applicable acknowledgements
and license terms accompanying such Third -Party Components, contained
therein or related thereto. If there is a conflict between the licensing terms of
such Third -Party Components and these Terms, the licensing terms of the Third
-Party Components shall prevail only in connection with the related Third -Party
Components. These Terms do not apply to any Third -Party Components
accompanying or contained in the Services and WalkMe disclaims all liability
related thereto. You acknowledge that WalkMe is not the author, owner or
licensor of any Third -Party Components, and that WalkMe makes no warranties
or representations, express or implied, as to the quality, capabilities, operations,
performance or suitability of Third -Party Components. Under no circumstances
shall the Services or any portion thereof (except for the Third -Party
Components contained therein) be deemed to be "open source" or "publicly
available" software.


13. AVAILABILITY; MODIFICATIONS TO THE SERVICES


The availability and functionality of the Services depends on various factors,
such as communication networks software, hardware, and WalkMe's service
providers and contractors. WalkMe does not warrant or guarantee that the
Services will operate and/or be available at all times without disruption or
interruption, or that it will be immune from unauthorized access error-free.
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WalkMe reserves the right to modify, correct, amend, enhance, improve, make
any other changes to, or discontinue, temporarily or permanently the Services
(or any part thereof, including but not limited to any content) without notice, at
any time and at its sole discretion. You agree that WalkMe shall not be liable to
you or to any third party for any modification, suspension, or discontinuance of
our Service.


14. WALKME WORLD COMMUNITY; ADDITIONAL TERMS.


If your use of the Services includes the Community Portal, then these additional
terms apply.


User Profile. You agree that the Community Portal is a public space and that
your participation creates no expectation of privacy. Further, you acknowledge
that any User Content you choose to post to the Community Portal may be
seen and used by others. IF YOU CHOOSE TO MAKE ANY OF YOUR PERSONAL
INFORMATION OR OTHER USER CONTENT PUBLICLY AVAILABLE IN THE
COMMUNITY PORTAL OR OTHERWISE ON OR THROUGH THE SERVICES YOU
DO SO AT YOUR OWN RISK.


User Obligations. With respect to your use of the Community Portal, you shall:


  Comply with these Terms and the Community Guidelines posted on the
  Community Portal.


  Use the Community Portal for the intended purpose and in compliance with
  all applicable laws and regulations.


  Comply with Your employer's policies and requirements.
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  Comply with any regulatory or legal requirements you may be subject to as a
  result of your employment, country of residence or role within an
  organization.


  Treat other community members with courtesy and respect.


You shall not:


       Impersonate any other person or falsely imply that you are associated
       with another person or entity.


       Submit content in exchange for payment or other consideration.


       Use the Community Portal in connection with unsolicited commercial
       messages or to advertise goods or services.


       Violate any anti-spam or similar law.


       Use the Community Portal to store or transmit infringing, libelous, or
       otherwise unlawful or tortious material including any malicious code or
       malware, or to engage in any illegal or fraudulent activity.

15. QA RECORDER; ADDITIONAL TERMS.


The QA Recorder may only be used on Chrome, it is the User's sole responsibility
to download and install Chrome in order to utilize this tool. WalkMe does not
take responsibility and shall not be liable for the performance of any browser.
The QA Recorder may oiler limited features and functionality.


In order to access and use the QA Recorder you must sign-up by providing the
following information: name, company email, phone number, and name of
company ("QA Recorder Account"). Your QA Recorder Account will allow you to
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access the QA Recorder, which you may uninstall at any time, in your sole
discretion.


For use of the QA Recorder, WalkMe is granting you a limited personal, non-
exclusive, non-assignable, non-transferrable, non-sublicensable, revocable (at
WalkMe's discretion) license to access and use any applicable software
components included with the QA Recorder for the recording of twenty (20)
initial recording sessions ("Recording(s)"). User may share each Recording with
any third party provided that it does so in accordance with the terms herein,
including without limitation ensuring that all such sharing of the Recordings
does not result in use of spam, unsolicited mail, harassment, wire fraud or similar
conduct and is otherwise done so in accordance with applicable law. For
clarity's sake, User's use of the QA Recorder, which for purposes herein shall be
considered part of the Services, is subject to the Privacy Policy available
at Ittps://www.walkme.com/privacy-policyl, specifically the Privacy Policy for
VisionsTM and for purposes therein any reference to VisionsTM shall include the
QA Recorder.
In order to receive additional Recordings, User must refer a third party via a
third party social network such as Google, Facebook, Twitter, and Linkedln using
the User's unique referral link ("Referral(s)"). To be considered a qualified referral
such Referral must sign-up for a QA Recorder Account ("Qualified Referral(s)").
For each Qualified Referral User shall be entitled to an additional set of
Recordings to use via their QA Recorder Account.


16. DISCLAIMER AND WARRANTIES


You understand that we cannot and do not guarantee or warrant that files
available for downloading from the internet or the Services will be free of viruses
or other destructive code. You are responsible for implementing sufficient
procedures and checkpoints to satisfy your particular requirements for anti-
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virus protection and accuracy of data input and output, and for maintaining a
means external to our site for any reconstruction of any lost data.



YOUR USE OF THE SERVICES AND ANY CONTENT THEREIN IS AT YOUR OWN
RISK. THE SERVICES AND CONTENT ARE PROVIDED ON AN "AS IS" AND "AS
AVAILABLE" BASIS, WITHOUT ANY WARRANTIES OF ANY KIND, EITHER
EXPRESS OR IMPLIED. NEITHER WALKME NOR ITS AFFILIATES, INCLUDING ANY
OF THEIR OFFICERS, DIRECTORS, SHAREHOLDER, EMPLOYEES, OR AGENTS
("WALKME REPRESENTATIVES") MAKE ANY WARRANTY OR REPRESENTATION
WITH RESPECT TO THE COMPLETENESS, SECURITY, RELIABILITY, QUALITY,
USABILITY, SUITABILITY, COMPLETENESS, ACCURACY, EFFECTIVENESS OR
AVAILABILITY OF THE SERVICES AND/OR ANY CONTENT, DATA, RESULTS, OR
OTHER INFORMATION OBTAINED OR GENERATED IN CONNECTION WITH
YOUR OR ANY USER'S USE OF THE SERVICES. WALKME DOES NOT WARRANT
OR MAKE ANY REPRESENTATIONS REGARDING THE USE, THE INABILITY TO
USE OR OPERATE, OR THE RESULTS OF THE USE OF THE CONTENT
AVAILABLE ON THE SERVICES. TO THE FULLEST EXTENT PROVIDED BY LAW,
WALKME HEREBY DISCLAIMS ALL WARRANTIES OF ANY KIND, WHETHER
EXPRESS OR IMPLIED, STATUTORY, OR OTHERWISE, INCLUDING BUT NOT
LIMITED TO ANY WARRANTIES OF MERCHANTABILITY, NON-INFRINGEMENT,
AND FITNESS FOR PARTICULAR PURPOSE.


WITHOUT LIMITING THE FOREGOING, WALKME PROVIDES NO
REPRESENTATIONS AND DISCLAIMS ALL WARRANTIES THAT THE SERVICES
WILL BE ERROR-FREE, OR UNINTERRUPTED, THAT DEFECTS WILL BE
CORRECTED, THAT THE SERVICES AND/OR THE SERVERS THAT MAKES IT
AVAILABLE ARE FREE OF VIRUSES OR OTHER HARMFUL COMPONENTS, OR
THAT THE SERVICES WILL OTHERWISE MEET YOUR NEEDS OR
EXPECTATIONS.WALKME MAY, AT ITS SOLE DISCRETION AND WITHOUT AN
OBLIGATION TO DO SO, CORRECT, MODIFY, AMEND, ENHANCE, IMPROVE AND
MAKE ANY OTHER CHANGES TO THE SERVICE AT ANY TIME, OR
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DISCONTINUE DISPLAYING OR PROVIDING ANY CONTENT OR FEATURES
WITHOUT ANY NOTICE TO YOU.



YOU AGREE AND ACKNOWLEDGE THAT THE USE OF THE SERVICES,
INCLUDING USE OF AND/OR RELIANCE ON ANY CONTENT AVAILABLE
THROUGH THE SERVICES, IS ENTIRELY, OR OTHERWISE TO THE MAXIMUM
EXTENT PERMITTED BY APPLICABLE LAW, AT YOUR OWN RISK.


17. LIMITATION OF LIABILITY


TO THE FULLEST EXTENT PERMITTED BY LAW, IN NO EVENT SHALL WALKME
 AND/OR THE WALKME REPRESENTATIVES BE LIABLE FOR ANY DAMAGES
WHATSOEVER, INCLUDING DIRECT, INDIRECT, SPECIAL, INCIDENTAL OR
CONSEQUENTIAL DAMAGES OF ANY KIND, RESULTING FROM OR ARISING
OUT OF THE SERVICES, USE OR INABILITY TO USE THE SERVICES, FAILURE OF
THE SERVICES TO PERFORM AS REPRESENTED OR EXPECTED, LOSS OF
 GOODWILL, DATA OR PROFITS, THE PERFORMANCE OR FAILURE TO
PERFORM UNDER THESE TERMS, AND ANY OTHER ACT OR OMISSION OR BY
 ANY OTHER CAUSE WHATSOEVER, INCLUDING WITHOUT LIMITATION DAM
AGES ARISING FROM THE CONDUCT OF ANY USERS AND/OR THIRD PARTY
SERVICES.



NO ACTION MAY BE BROUGHT BY YOU FOR ANY BREACH OF THESE TERMS
MORE THAN ONE (1) YEAR AFTER THE ACCRUAL OF SUCH CAUSE OF ACTION.
AS SOME STATES DO NOT ALLOW THE EXCLUSION OR LIMITATION OF
INCIDENTAL OR CONSEQUENTIAL DAMAGES, THEN SUCH LIMITATIONS ONLY
MAY NOT APPLY TO A USER RESIDING IN SUCH STATES.


SUCH LIMITATIONS, EXCLUSIONS AND DISCLAIMERS SHALL APPLY TO ALL
CLAIMS FOR DAMAGES, WHETHER BASED IN AN ACTION OF CONTRACT,
WARRANTY, STRICT LIABILITY, NEGLIGENCE, TORT, OR OTHERWISE. YOU
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HEREBY ACKNOW LEDGE AND AGREE THAT THESE LIMITATIONS OF
LIABILITY ARE AGREED ALLOCATIONS OF RISK CONSTITUTING IN PART THE
CONSIDERATION FOR THE WALKME SERVICES TO YOU, AND SUCH LIM
ITATIONS WILL APPLY NOTWITHSTANDING THE FAILURE OF ESSENTIAL
PURPOSE OF ANY LIM ITED REMEDY, AND EVEN IF WALKME AND/OR ANY
WALKME AFFILIATES HAVE BEEN ADVISED OF THE POSSIBILITY OF SUCH
LIABILITIES AND/OR DAMAGES. THE FOREGOING LIMITATION OF LIABILITY
SHALL APPLY TO THE FULLEST EXTENT PERM ITTED BY LAW IN THE
APPLICABLE JURISDICTION AND IN NO EVENT SHALL WALKME'S CUMULATIVE
LIABILITY TO YOU EXCEED AMOUNTS PAID TO WALKME FOR USE OF THE
SERVICES. IF YOU HAVE NOT MADE ANY PAYMENTS TO WALKME FOR THE
USE OF THE SERVICES, THEN WALKME SHALL NOT HAVE ANY LIABILITY
TOWARDS YOU.


Nothing in these Terms shall limit or exclude liability for anything that cannot be
limited or excluded under applicable law.


18. INDEMNIFICATION


You agree to defend, indemnify and hold harmless WalkMe and any WalkMe
Representative from and against any and all claims, damages, obligations,
losses, liabilities, costs, debts, fines, late fees, cancellation fees and expenses
(including attorney's fees) arising directly or indirectly from: (i) your use of the
Services (or any part thereof); (ii) breach of these Terms by you; (iii) any damage
of any sort, whether direct, indirect, special or consequential, you may cause to
any third party which relates to your use of (or inability to use) the Services; (iv)
your violation of any third party intellectual property rights, privacy rights or
other rights through your use of the Services or provision of information to the
Services (including but not limited to obtaining consents from the requisite
parties); and (v) your violation of any applicable law or regulation.
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19. DIRECT MARKETING


You hereby agree that we may use your contact details provided by you
through the Site for purpose of informing you regarding our products and/or
Services, which may interest you, to contact you by telephone (including
texting), and to send to you other marketing material, transmitted by e-mail,
notices, and/or messages via the Services. You may revoke your consent to any
individually targeted communications at any time by contacting us
at legal@walkme.com.


2O. MISCONDUCT AND COPYRIGHT POLICY


If you believe a User, including Third Party Providers, acted inappropriately
including, but not limited to, offensive, violent or sexually inappropriate behavior
 or content, please report such person immediately to the appropriate
authorities.


We take claims of copyright infringement seriously. We will respond to notices of
alleged copyright infringement that comply with applicable law. If you believe
any materials accessible on or from the Site and/or Services infringe your
 copyright, you may request removal of those materials (or access to them) from
the Site and/or Services by submitting written notification to our copyright
agent designated below. In accordance with the Online Copyright Infringement
Liability Limitation Act of the Digital Millennium Copyright Act (17 U.S.C. § 512)
("DMCA"), the written notice (the "DMCA Notice") must substantially include the
following information: (i) a physical or electronic signature of a person
authorized to act on behalf of the owner of the copyright; (ii) a description of
the copyrighted work that you claim has been infringed; (iii) a description of the
material that you claim to be infringing or to be the subject of infringing activity
and that is to be removed or access to which is to be disabled and information
sufficient to permit WalkMe to locate the material (including URL address or
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screen capture of such infringing activity); (iv) information so that the WalkMe
can contact you, such as address, telephone number and e-mail address; (v) :-...
statement that you believe in good faith that use of the material in the manner
complained of is not authorized by the copyright owner, its agent, or the law; (vi)
a statement that the information in the notification is accurate and, under
penalty of perjury, you are the copyright owner or are authorized to act on
behalf of the owner of a copyright that is allegedly infringed. WalkMe's
Copyright Agent can be reached at


WalkMe
525 Market Street, 37th Floor
San Francisco, CA 94105


Attn: DMCA Copyright Agent
Phone: (415) 494-2774
Email: legal@walkme.com


If you fail to comply with all of the requirements of Section 512(c)(3) of the
DMCA, your DMCA Notice may not be effective.


If you believe that material you posted on the Services was removed or access
to it was disabled by mistake or misidentification, you may file a counter-
notification with us (a "Counter-Notice") by submitting written notification to our
copyright agent designated above. Pursuant to the DMCA, the Counter-Notice
must include substantially the following: (1) full name, address, phone number
and physical or electronic signature; (2) identification of the material and its
location before removal; (3) a statement under penalty of perjury that the
material was removed by mistake or misidentification; (4) consent to an
appropriate judicial body; and (5) any other information required under the
relevant applicable law. WalkMe reserves the right to notify the person or entity
providing the infringement notice of such counter-notice and provide any
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 details included therein. The DMCA allows us to restore the removed content if
the party filing the original DMCA Notice does not file a court action against yc,L.:
within ten business days of receiving the copy of your Counter-Notice.


Please be aware that if you knowingly materially misrepresent that certain
material or activity on the Site and/or Services was removed or disabled by
mistake or misidentification, you may be held liable for damages (including
 costs and reasonable attorneys' fees) under Section 512(f) of the DMCA. It is our
policy, in appropriate circumstances, to disable and/or terminate the accounts
of Users who are repeat infringers.


21. AMENDMENT OF TERMS


WalkMe expressly reserves the right to modify these Terms at any time in its sole
 discretion. WalkMe will make commercially reasonable efforts to notify on any
substantial changes to these Terms by posting the new Terms on the Services
and/or by sending you an e-mail regarding such changes to the email address
that is registered under your Account. Such substantial changes will take effect
seven (7) days after such notice was provided on any of the abovementioned
methods. Otherwise, all other changes to these Terms are effective as of the
stated "Last Revised" date and your continued use of the Service after the Last
Revised date will constitute acceptance of, and agreement to be bound by,
those changes. Please note that in the event that the Terms should be
amended to comply with any legal requirements, such amendments may take
effect immediately and without any prior notice, as may be required by law.


22. TERMINATION OF SERVICE


WalkMe has the right to terminate or suspend your access to all or part of the
Services for any or no reason, including without limitation, any violation of these
Terms.
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Additionally, WalkMe may at any time, at its sole discretion, cease the operation
of our Services or any part thereof, temporarily or permanently, without giving
any prior notice. You agree and acknowledge that WalkMe does not assume
any responsibility with respect to, or in connection with the termination of our
Services' operation and loss of any data. The following provisions shall survive
the termination or expiration of the Terms: Section 4 (User Representations and
Undertakings); Section 6 (Use Restrictions); Section 7 (User Generated Content);
Section 8 (Feedback); Section 9 (Privacy Policy); Section 10 (Intellectual
Property Right); Section 11 (Third Party Services); Section 12 (Third Party
Components); Section 16 (Disclaimer and Warranties); Section 17 (Limitation of
Liability); Section 18 (Indemnification); Section 22 (Termination of Service); and
Section 23 (General).


23. GENERAL


These Terms do not, and shall not be construed to create any partnership, joint
venture, employer- employee, agency, or franchisor-franchisee relationship
between the parties hereto. Any claim relating to the Services or use of the
Services will be governed by and interpreted in accordance with the laws of the
State of California, without reference to its conflict-of-laws principles. Any
dispute arising out of or related to your use of the Service will be brought in, and
you hereby consent to exclusive jurisdiction and venue in, the competent courts
of the San Francisco County, California. If any provision of these Terms is found
to be unlawful, void, or for any reason unenforceable, then that provision will be
deemed severable from these Terms and will not affect the validity and
enforceability of any remaining provision. You may not assign, sublicense or
otherwise transfer any or all of your rights or obligations under these Terms
without WalkMe's prior express written consent. No waiver by either party of any
breach or default hereunder will be deemed to be a waiver of any preceding or
subsequent breach or default. Any heading, caption or section title contained
herein is inserted only as a matter of convenience, and in no way defines or
explains any section or provision hereof. These Terms are the entire terms and
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 conditions between you and WalkMe relating to the subject matter herein and
 supersedes any and all prior or contemporaneous written or oral agreements c.,-r
understandings between you and WalkMe. Notices to you may be made via
 email or regular mail. Our Services may also provide notices of changes to
 these Terms or other matters, by displaying such notices or by providing links to
 such notices. Without limitation, you agree that a printed version of these Terms
 and of any notice given in electronic form shall be admissible in judicial or
 administrative proceedings based upon or relating to these Terms to the same
 extent and subject to the same conditions as other business documents and
 records originally generated and maintained in printed form.


24. CONTACT


If you have any questions (or comments) concerning the Terms or the Services,
 you are welcome to send us an email to the following address, and we will make
 an effort to reply within a reasonable timeframe: legal@walkme.com.


By contacting us, you represent that you are free to do so and that you will not
 knowingly provide WalkMe with information that infringes upon third parties'
 rights, including any intellectual property rights. You further acknowledge that
 notwithstanding anything herein to the contrary, any and all rights, including
intellectual property rights in such information provided, shall belong exclusively
 to WalkMe, and WalkMe may use or refrain from using any such information at
its sole discretion.


 WalkMe previous Terms of Services



Good to know                                           About us



 The WalkMe Platform                                   About WalkMe
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WalkMe Integrations                                          Brand Resources




WalkMe Security                                              Careers




Privacy Policy                                               Customer Stories




Terms and Conditions                                         WalkMe Blog




Customer Subscription                                        Glossary




Modern Slavery Statement                                     What is Digital Transformation




                                                             Investor Relations




Help                                               Connect With Us



Help Center                                        1-855-4-WALKME(925563)




Open a Ticket                                      Partner Portal




                                                   sales@walkme.com




                                                   WalkMe Community




                                                   Digital Adoption Institute




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                                   facebc    twitter       linkedi
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                         Request a demo )




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